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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,
                                                       No. 20-cv-3377 (DLF)
     Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

     Defendants.


      DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION
           TO ENFORCE THE SUPREME COURT’S RULING AND
               TO VACATE THE STAY PENDING APPEAL

        After the eviction moratorium that was the subject of this litigation expired, the Centers for

Disease Control and Prevention (“CDC”) determined that the deteriorating public health situation

necessitated a new invocation of its authority—and responsibility—to protect public health.

        Although the factual circumstances have changed and CDC’s new order differs from the prior

eviction moratorium by targeting only areas of high or substantial transmission, Plaintiffs have filed

what they style as a motion to “enforce the Supreme Court’s ruling and to vacate the stay pending

appeal.” ECF No. 67 (“Mot.”) at 1 (capitalization modified). The motion should be denied, as it rests

on the incorrect premise that the Supreme Court has issued a “ruling” in Plaintiffs’ favor.

        In earlier proceedings in this case, this Court vacated the prior eviction moratorium but stayed

enforcement of its order pending appeal. On appellate review, the D.C. Circuit refused to lift the stay,

and the Supreme Court denied Plaintiffs’ emergency application for vacatur. Plaintiffs emphasize that

Justice Kavanaugh indicated in his concurrence that he agreed with their position that CDC lacked

authority to issue a nationwide eviction moratorium, and that there were four Justices who dissented
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from the denial of Plaintiffs’ application for relief. Under D.C. Circuit precedent, however, the votes

of dissenting Justices may not be combined with the vote of a concurring Justice to establish a binding

decision. See United States v. Epps, 707 F.3d 337, 348 (D.C. Cir. 2013); King v. Palmer, 950 F.2d 771, 781

(D.C. Cir. 1991) (en banc). Unless and until the Supreme Court rules otherwise, the decision of the

D.C. Circuit motions panel that rejected Plaintiffs’ position remains the law of the case, at least as to

the factors governing whether any adverse judgment should be stayed. See Ala. Ass’n of Realtors v.

HHS, No. 21-5093, 2021 WL 2221646 (D.C. Cir. 2021); see generally Petties v. District of Columbia, 227

F.3d 469, 472 (D.C. Cir. 2000) (“Under this court’s practice, a decision of the motions panel is the law

of the case.”).

        Until the Supreme Court acts, this Court should follow the D.C. Circuit, not predictions about

what the Supreme Court may decide. Such predictions are particularly problematic here. In Plaintiffs’

prior Supreme Court application, they offered a variety of bases for vacating the stay, including “the

downward trend in COVID-19 cases,” “the effectiveness of vaccines,” and CDC’s guidance that

“vaccinated individuals may dispense with masks and social distancing indoors.” Pls.’ Emergency

App. For Vacatur (June 3, 2021), No. 20A169, at 4, https://go.usa.gov/xFNup. The Justices who

dissented from the denial of Plaintiffs’ application did not explain their reasoning and may have agreed

with Plaintiffs’ contention that, under the circumstances then present, the eviction moratorium was

not “necessary” to prevent the spread of COVID-19, which is a requirement for the exercise of CDC’s

authority under 42 U.S.C. § 264.

        Since that time, the trajectory of the pandemic has changed dramatically as a result of the

highly contagious Delta variant. The seven-day average of daily new cases is now 89,976—nearly a

seven-fold increase over the rate when the Supreme Court ruled on June 29. See CDC COVID Data

Tracker, Trends in Number of COVID-19 Cases and Deaths in the US Reported to CDC, by




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State/Territory, https://go.usa.gov/xFRXv (last visited Aug. 6, 2021). And, based on mathematical

modeling, case trends will continue to increase over the coming weeks. See CDC COVID Data

Tracker, United States Forecasting, https://go.usa.gov/xFRFQ (last visited Aug. 6, 2021). New

evidence suggests that the Delta variant is more than twice as transmissible as the original strains of

SARS-CoV-2 circulating at the start of the pandemic; the Delta variant has demonstrated increased

levels of transmissibility among unvaccinated persons and might increase the risk of vaccine

breakthrough infections in the absence of other mitigation strategies. See CDC, About Variants of the

Virus that Causes COVID-19, https://go.usa.gov/xFRFG (last visited Aug. 6, 2021). Children

younger than age 12 are not yet eligible for vaccines.

        CDC is thus once again recommending indoor masking for fully vaccinated individuals, see

CDC,      Interim     Public     Health     Recommendations         for    Fully     Vaccinated      People,

https://go.usa.gov/xFRX6 (last visited Aug. 6, 2021), as this Court has itself required, see D.D.C.

Standing Order 21-45, In re Reinstatement of Mask Requirement for All Individuals in Public and Non-Public

Areas of Courthouse (Jul. 30, 2021); businesses are delaying return-to-work orders, see, e.g., Lauren Hirsch,

Delays, More Masks and Mandatory Shots: Virus Surge Disrupts Office-Return Plans, N.Y. Times (July 23,

2021), https://nyti.ms/2VryVw5; and hospitalization rates in some states are approaching (if not

passing) their winter peaks, see CDC COVID Data Tracker, Prevalent Hospitalizations of Patients

with Confirmed COVID-19, https://go.usa.gov/xFnYg (last visited Aug. 6, 2021).

        Faced with these rising case numbers, and instead of extending its previous “nationwide

eviction moratorium,” Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2320, 2320 (2021) (Kavanaugh, J.,

concurring), CDC has issued a new moratorium that applies only in areas of substantial or high

transmission, thus exercising its authority to tailor a set of necessary actions to reduce the interstate

spread of communicable disease.




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        Under these circumstances, this Court should not strike down the new order on the basis of

twenty-four hours of emergency briefing—particularly when Plaintiffs have not even filed a pleading

asserting claims against the new, narrower CDC order.

                                          BACKGROUND

A.      Prior Proceedings In This Court And The D.C. Circuit

        Plaintiffs challenged a nationwide CDC eviction moratorium that most recently was extended

through July 31, 2021. See 86 Fed. Reg. 34,010 (June 28, 2021). This Court vacated that moratorium

for lack of statutory authority but stayed the judgment pending appeal. In issuing the stay, this Court

concluded that Defendants had made a strong showing that they would be irreparably injured absent

a stay. See ECF Nos. 60, 61. The Court recognized Defendants’ “strong interest in controlling the

spread of COVID-19 and protecting public health,” and noted that CDC’s Order was “supported by

observational data and analyses that estimate that as many as 433,000 cases of COVID-19 and

thousands of deaths could be attributed to the lifting of state-based eviction moratoria.” ECF No. 61

at 8; see also id. (citing mathematical model that estimates that “anywhere from 1,000 to 100,000 excess

cases per million population could be attributable to evictions depending on the eviction and infection

rates”). The Court also held that any potential financial loss to landlords was “outweighed by the

[Defendants’] weighty interest in protecting the public.” Id. at 9.

        A unanimous panel of the D.C. Circuit refused to vacate this Court’s stay. The motions panel

concluded that Defendants had a strong likelihood of success on the merits and that the equities

favored a stay of this Court’s judgment. See Ala. Ass’n of Realtors, 2021 WL 2221646, at *1–4. The

motions panel concluded that Defendants had demonstrated “that lifting the national moratorium will

exacerbate the significant public health risks identified by CDC because, even with increased

vaccinations, COVID-19 continues to spread and infect persons, and new variants are emerging.” Id.

at *3 (alterations and internal quotation marks omitted). By contrast, Plaintiffs had failed to show a


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likelihood of irreparable injury. Id. at *3–4.

B.      Prior Supreme Court Proceedings

        The Supreme Court denied Plaintiffs’ application to vacate the stay by a 5-4 vote. See Ala.

Ass’n of Realtors, 141 S. Ct. 2320. Concurring in the denial of the application, Justice Kavanaugh

indicated that he “agree[d] with the District Court and the applicants that the Centers for Disease

Control and Prevention exceeded its existing statutory authority by issuing a nationwide eviction

moratorium,” but that he was voting to leave the stay in place “[b]ecause the CDC plans to end the

moratorium in only a few weeks, on July 31, and because those few weeks will allow for additional

and more orderly distribution of the congressionally appropriated rental assistance funds.” Id. at 2320-

21 (Kavanaugh, J., concurring). He stated that, in his view, “clear and specific congressional

authorization (via new legislation) would be necessary for the CDC to extend the moratorium past

July 31.” Id. at 2321.

        Four Justices voted to grant Plaintiffs’ application but did not provide an explanation for their

votes. Likewise, the four Justices who voted to deny Plaintiffs’ application did not provide their

reasoning.

C.      The Moratorium At Issue Here

        On August 3, CDC issued a new, more targeted eviction moratorium “in order to respond to

recent, unexpected developments in the trajectory of the COVID-19 pandemic, including the rise of

the Delta variant.” See Temporary Halt in Residential Evictions in Communities with Substantial or

High Levels of Community Transmission of COVID-19 to Prevent the Further Spread of COVID-

19 at 1, https://go.usa.gov/xF5yV. This new order applies only in areas of substantial or high disease

transmission, and it applies through October 3, 2021. CDC explained that the new order “is intended

to target specific areas of the country where cases are rapidly increasing, which likely would be




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exacerbated by mass evictions.” Id. at 1. As CDC explained, “[t]rends have dramatically worsened

since June 2021[,] and transmission is rapidly accelerating in the United States.” Id. at 15. “A renewed

surge in cases in the United States began in early July 2021; case counts rose from 19,000 [new] cases

[per day] on July 1, 2021, to 103,000 cases on July 30, 2021,” with cases expected to rise over the next

four weeks. Id. at 4.

        CDC noted that the predominant “Delta variant has demonstrated increased levels of

transmissibility compared to other variants,” and that “early evidence suggests that people who are

vaccinated and become infected with the Delta variant may transmit the virus to others.” Id. at 5. It

further noted that emergency rental assistance had been slower to be distributed than hoped, with

“hundreds of thousands of applications for assistance . . . currently outstanding,” and that additional

time would facilitate the distribution of additional assistance that could help keep people in their

homes, instead of congregate settings where the virus spreads easily. Id. at 8. Without a moratorium,

“a wave of evictions, on the order of hundreds of thousands, could occur in late summer and early

fall, exacerbating the spread of COVID-19 among the significant percentage of the population that

remains unvaccinated.” Id. at 15.

                                            ARGUMENT

        Plaintiffs’ motion provides no authority for this Court to enjoin CDC’s August 3 order. The

D.C. Circuit motions panel addressed the issue of CDC’s statutory authority to issue the prior

moratorium and concluded that Defendants had a strong likelihood of success on the merits; it further

concluded that the equities otherwise favored Defendants. Absent a contrary ruling from the Supreme

Court in a challenge to CDC’s new moratorium, this Court should follow the D.C. Circuit motions

panel’s determination that the moratorium should remain in effect. See Petties, 227 F.3d at 472.

        Plaintiffs’ motion rests on the incorrect premise that the Supreme Court issued an “order” or




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“ruling” in their favor. It did not. The Supreme Court denied their application for relief. See Ala. Ass’n

of Realtors, 141 S. Ct. at 2320 (“The application to vacate stay presented to THE CHIEF JUSTICE and

by him referred to the Court is denied.”). And a Supreme Court “order” or “ruling” in Plaintiffs’

favor cannot be created by cobbling together the votes of dissenting Justices with a concurrence. The

D.C. Circuit has held that, when a lower court applies Marks v. United States, 430 U.S. 188 (1977), to

discern the decision of a fractured Court, it should consider only the votes of the Justices who

supported the judgment. See Epps, 707 F.3d at 348 (“This court has interpreted Marks to mean that

the narrowest opinion ‘must represent a common denominator of the Court’s reasoning; it must

embody a position implicitly approved by at least five Justices who support the judgment.’” (quoting King,

950 at 781) (second emphasis added)).

        The D.C. Circuit’s determination that this Court’s judgment should be stayed, in contrast, was

reasoned, and it was issued by a unanimous three-judge panel. The court concluded that CDC had

made “a strong showing that it is likely to succeed on the merits” because the eviction moratorium

falls within the plain text of 42 U.S.C. § 264(a), has been recognized by Congress as within CDC’s

authority, is consistent with the text and structure of section 264’s other provisions, and is consistent

with Congress’s constitutional authority. Ala. Ass’n of Realtors, 2021 WL 2221646, at *1–3. The court

further found that the other equitable factors weighed in favor of staying this Court’s order pending

appeal. Id. at *3-4. Although the motions panel indicated that its merits analysis would not bind the

merits panel, the motions panel’s ruling is “preclusive for all matters decided expressly or by necessary

implication,” Taylor v. F.D.I.C., 132 F.3d 753, 761 (D.C. Cir. 1997), which included the determination

that the moratorium should be left in place pending further review. See Petties, 227 F.3d at 472; cf.

Sherley v. Sebelius, 689 F.3d 776, 782–83 (D.C. Cir. 2012) (even preliminary decision can be law of the

case where it reflects “[a] fully considered appellate ruling on an issue of law” (internal quotation marks




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omitted)). And “[d]istrict judges . . . are obligated to follow controlling precedent until either the D.C.

Circuit, sitting en banc, or the Supreme Court, overrules it.” Vijender v. Wolf, No. 19-3337, 2020 WL

1935556, at *3 (D.D.C. Apr. 22, 2020) (alterations omitted) (quoting United States v. Torres, 115 F.3d

1033, 1036 (D.C. Cir. 1997)). Significantly, this Court “is not free to ignore binding circuit precedent

because of a possible inconsistency with an intervening decision of the Supreme Court.” Nat’l Wildlife

Fed’n, Inc. v. U.S. Army Corps of Eng’rs, 314 F. Supp. 3d 126, 130 (D.D.C. 2018) (emphasis added).

“Unless and until the Court expressly abrogates [precedent,]” a district court “lacks authority to

conclude” that a more recent Supreme Court decision has, “by implication, overruled an earlier

precedent.” Libertarian Nat’l Comm., Inc. v. Fed. Election Comm’n, 924 F.3d 533, 549 (D.C. Cir. 2019).

        Finally, to the extent that this Court disagrees, Defendants respectfully request that this Court

enter an immediate administrative stay so that the Solicitor General may consider whether to seek

emergency relief from the D.C. Circuit or the Supreme Court. There is an exceptionally strong

equitable case for leaving the stay of this Court’s judgment in place given recent trends in the

pandemic, and Plaintiffs will not be prejudiced by the short additional time that it would take for the

Supreme Court to interpret its own ruling. As the D.C. Circuit has observed, Plaintiffs “waited eleven

weeks before bringing their challenge to the [prior] moratorium,” Ala. Ass’n of Realtors, 2021 WL

2221646, at *4, and every court to consider the question has concluded that the prior CDC eviction

moratorium did not cause landlords irreparable harm. See Defs.’ Emergency Mot. for Stay Pending

Appeal, ECF No. 57, at 3 (collecting cases); see also Brown v. Azar, --- F.4th ----, 2021 WL 2944379

(11th Cir. July 14, 2021). Any injury to Plaintiffs caused by a temporary administrative stay is

outweighed by the risk of illness and mortality if the moratorium targeting areas of high or substantial

transmission is unnecessarily lifted at this moment when new cases are rapidly increasing due to the

highly contagious Delta variant.




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                                       CONCLUSION

       The Court should deny Plaintiffs’ motion.

Dated: August 6, 2021                                  Respectfully submitted,

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